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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK
   AMERICA,
                                       DEFENDANT’S “MOTION TO
          Plaintiff,                   DISQUALIFY RONALD G.
                                       JOHNSON AND GREGG
         v.                            PARIS YATES FOR NOT
                                       HAVING AN OATH OF
                                       OFFICE FILED AND FOR NOT
   ANTHONY T. WILLIAMS,                HAVING A VALID LICENSE
                                       TO PRACTICE LAW;”
          Defendant.                   DECLARATION OF COUNSEL;
                                       EXHIBIT “A”’ CERTIFICATE
                                       OF SERVICE


                 DEFENDANT’S “MOTION TO
      DISQUALIFY RONALD G. JOHNSON AND GREGG PARIS
    YATES FOR NOT HAVING AN OATH OF OFFICE FILED AND
     FOR NOT HAVING A VALID LICENSE TO PRACTICE LAW”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides DEFENDANT’S “MOTION TO DISQUALIFY RONALD
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   G. JOHNSON AND GREGG PARIS YATES FOR NOT HAVING

   AN OATH OF OFFICE FILED AND FOR NOT HAVING A

   VALID LICENSE TO PRACTICE LAW;” Declaration of Counsel

   and Exhibit “A.”

      Dated: July 22, 2019




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
